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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

SANDRA SUDZIARSKI
2915 Whitewood Road :
Bethlehem, PA 18017 : CIVIL ACTION
Plaintiff, : No.:
v.

AMAZON.COM, INC. d/b/a AMAZON.COM :
550 Oakridge Road : JURY TRIAL DEMANDED
Hazleton, PA 19202 :

and
AMAZON.COM DEDC, LLC
P.O. Box 80726
Seattle, WA 98108

Defendants.

 

CIVIL ACTION COMPLAINT

Sandra Sudziarski (hereinafter referred to as “Plaintiff,” unless indicated otherwise) by

and through her undersigned counsel, hereby avers as follows:
INTRODUCTION

1. Plaintiff has initiated this action to redress violations by Amazon.com, Inc. d/b/a
Amazon.com and Amazon.com Dede, LLC (hereinafter collectively referred to as “Defendants”)
of Title VII of the Civil Rights Act of 1964 (“Title VII’ — 42 U.S.C. §§ 2000d ef. seq), the
Americans with Disabilities Act, as amended (“ADA” — 42 U.S.C. §§ 12101 et seq.), the Family
and Medical Leave Act (“FMLA” - 29 U.S.C. §§ 2601 ef. seg.), and the Pennsylvania Human
Relations Act (“PHRA”).! As a direct consequence of Defendants’ unlawful actions, Plaintiff

secks damages as set forth herein.

 

| Plaintiff's claim under the PHRA is referenced herein for notice purposes. She is required to wait 1 full year
before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in
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JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and
seeks redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff's
state-law claims because they arise out of the same common nucleus of operative facts as
Plaintiff's federal claims asserted herein.

3. This Court may properly assert personal jurisdiction over Defendants because
their contacts with this state and this judicial district are sufficient for the exercise of jurisdiction
over Defendants to comply with traditional notions of fair play and substantial justice, satisfying
the standard set forth by the United States Supreme Court in Int'l Shoe Co. v. Washington, 326
U.S. 310 (1945), and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) an (b)(2), venue is properly laid in this district
because Defendants are deemed to reside where they are subjected to personal jurisdiction,
rendering Defendants residents of the Middle District of Pennsylvania.

5. Plaintiff is proceeding herein (in part) under Title VII and the ADA after properly
exhausting all administrative remedies with respect to such claims by timely filing a Charge of
Discrimination with the Equal Employment Opportunity Commission (“EEOC”) and by filing

the instant lawsuit within ninety (“90”) days of receiving a notice of dismissal and/or right to sue

letter from the EEOC.
PARTIES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7. Plaintiff is an adult individual with an address as set forth in the caption.

 

advance of same because of the date of issuance of her federal right-to-sue-letter under Title VII and the ADA.
Plaintiff's PHRA claims however will mirror identically her federal claims under Title VII and the ADA.

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8. Amazon.com, Inc. d/b/a Amazon.com is a multinational technology company that
focuses on e-commerce, cloud computing, digital streaming, artificial intelligence
implementation, and facilities management services, with numerous distribution facilities
throughout several states in the United States (including Pennsylvania). Plaintiff worked at the
distribution facility located at the address as set forth in the above caption.

9, Amazon.com DeDc, LLC is a subsidiary of Amazon.com, Inc. focusing in
distribution center services, with headquarters located at the address as set forth in the above
caption. Plaintiff's W-2 forms list Amazon.com DeDc, LLC as her employer located at that
address.

10. Because of their interrelation of operations, common ownership or management,
centralized control of labor relations, common ownership or financial controls, and other factors
Defendants are sufficiently interrelated and integrated in their activities, labor relations,
ownership, and management that they made be treated as a single and/or joint employer for
purposes of the instant action.

11. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope
of their employment with and for the Defendants.

FACTUAL BACKGROUND

12. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
13. Plaintiffis an adult female.

14. ‘Plaintiff was hired by Defendants as a Warehouse Associate in or about 2010.
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15. From in or about June of 2017 until her unlawful termination (as discussed infra)
on or about April 4, 2019, was employed by Defendants as a Safety Manager at Defendants’
Hazleton, Pennsylvania facility.

16. At all times relevant herein, Plaintiff was primarily supervised by Senior
Environmental Health and Safety (EHS) Manager, Shelly Rath (hereinafter “Rath”); and upper
level Safety Manager, Chris Zwiebel (hereinafter “Zwiebel”).

17. Throughout her employment with Defendants, Plaintiff was a hard-working
employee who performed her job well.

18. During approximately the last year of her employment with Defendants, Plaintiff
and other female employees were subjected to disparate and discriminatory behavior based on
their gender and subjected to sexual harassment and derogatory comments.

19. For example, in or about early 2018, at a team dinner, onsite medical
representative, Mike Buckman (hereinafter “Buckman’”) asked Plaintiff if she was “into S&M”
(sadomasochism).

20. Immediately following Buckman’s aforesaid sexually offensive comment,
Plaintiff complained to Human Resources (“HR”) and Defendants’ management, who told her
that the incident would be handled; however, it was not meaningfully investigated or addressed.
Rather, HR representatives Rich Unger (hereinafter “Unger”) and Ashley Boyer (hereinafter
“Boyer”) both appeared to be more concerned about Buckman losing his position if Plaintiff
continued to pursue claims of sexual harassment against him.

21. Shortly thereafter, Plaintiff discovered that Buckman was also subjecting one of
her direct reports, KE* (female) to unwanted and offensive sexual harassment and derogatory

comments, including but not limited to “I saw your picture on Facebook, you shouldn’t have

 

? This individual’s initials are being used instead of her full name for privacy reasons.

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worn that. coat,” “Was that a tight dress you had on under your coat; you were better off keeping
your coat off,” and “I want to see what is under that coat.”

22. ‘Plaintiff reported Buckman’s aforesaid sexually harassing treatment of KE to HR
representative, Allison Blyler (hereinafter “Blyler”), as well as Defendants’ management, but
once again, Plaintiff's complaints were not meaningfully investigated or resolved.

23.  <Asaresult of Defendants’ management’s and HR’s failure to address Plaintiffs
aforesaid complaints of sexual harassment on behalf of herself and KE (see Paragraphs 19
through 22), Plaintiff escalated her concerns via email to Defendants’ owner, Jeff Bezos
(hereinafier “Bezos”). Shortly thereafter, Buckman was terminated.

24. —‘ Following Plaintiff's complaints of/objections to sexual harassment on behalf of
herself and KE, Plaintiff was subjected to increased hostility and animosity by Defendants’
management and Unger. By way of example, but not intended to be an exhaustive list:

a. Plaintiff was. subjected to demeaning, condescending, and derogatory
conversations and behavior;

b. Unger approached Plaintiff and hostilely informed her that Buckman had lost
his job because of her complaints;

c. Defendants’ management selectively enforced policies against Plaintiff (i.e.,
Plaintiff was advised by HR that once she clocked out, she needed to leave
Defendants’ premises, but others were not admonished for same);

d. Plaintiff began to be actively ignored by Defendants’ management and co-
workers;

e. Plaintiff was excluded from emails and meetings by Defendants’ management

and co-workers that she would normally be involved in;
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f. Plaintiff was due for a raise in January of 2019, but HR, including Unger,
would not sign off on her raise in December of 2018; and
g. Rath informed Plaintiff that “HR was out to get [her].”

25. Plaintiff complained to Defendants’ management and HR on several occasions
that she believed the negative treatment she was receiving was because of her complaints of
sexual harassment and/or gender discrimination; however, her concerns were ignored.

26. In or about September/October of 2018, Defendants brought in a new upper level
safety manager, Zwiebel, whom Plaintiff directly reported to.

27. Shortly after he began his tenure with Defendants, Zwiebel began to subject
Defendants’ female employees, including Plaintiff, to discrimination and disparate treatment
because of their gender, including not limited to:

a. Treating Plaintiff and other female employees in a rude and condescending
manner, regularly talking down to them;

b. Failing to address or give directions to female employees over the radio
system, unlike their male co-workers;

c. Failing to address female employees by their first names, unlike their male co-
workers; and

d. Selectively enforcing policies against Plaintiff and other female employees,
unlike their male co-workers.

28. Plaintiff verbally complained of the aforesaid instances of gender discrimination
on several occasions to Defendants’ management and Human Resources, including but not
limited to Blyler and Site Manager, Doug Chamberlain (hereinafter “Chamberlain”) throughout
the remainder of her employment and leading up to her termination from Defendants; however,

her concerns were never investigated or resolved in any meaningful manner.
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29. In addition fo the aforesaid instances of gender discrimination (see Paragraph 27),
Plaintiff believes and avers that Defendants’ management denied female employees the same
opportunities and promotions as their male co-workers.

30. For example, on or about January 8, 2019, Plaintiff attended a yearly conference
in Dallas, Texas with Zwiebel and other members of Defendants’ management, wherein they
ranked employees for promotion. Plaintiff ranked one of her direct reports, “BH”? (female) as
top tier, but Zwiebel disagreed, stating that BH abused the intermittent medical leave that she
utilized under the Family and Medical Leave Act (“FMLA”) for her serious health conditions.

31. In response to Zwiebel’s aforesaid FMLA violations regarding BH’s promotion,
Plaintiff informed Zwiebel and other members of Defendants’ management that she believed it
was illegal to use someone’s FMLA rights against them with regard to a promotion; however,
Plaintiff was largely ignored, and BH was not given a promotion.

32. Plaintiff also reported Defendants’ management’s aforementioned FMLA
violations regarding BH’s promotion to Blyler (a protected activity under the FMLA).4

33. Shortly after reporting Defendants’ management’s illegal and discriminatory use
of BH’s FMLA leave against her in denying her a promotion, Plaintiff was asked to meet with
HR and Defendants’ management, at which time she was given a Memorandum of Expectation

(“MOE”) and informed that she needed to engage in better communications with her team.

 

3 This individual’s initials are being used instead of her full name for privacy reasons.

“ Employees are protected from retaliation for opposing or complaining of any unlawful practice under the FMLA,
including an employer using “FMLA leave as a negative factor in employment actions, such as hiring, promotions or
disciplinary actions.” See 29 C.F.R. § 825.220(a}{2), {c} and (e); see also 29 U.S.C. § 2615(a)(2) (prohibiting
employer from “discharg[ing] or in any other manner discriminat[ing] against any individual for opposing any
practice made unlawful [by FMLA]"); Budhun v. Reading Hosp. & Med. Ctr, 765 F.3d 245, 258 (3d Cir. 2014)
(“Employers ‘cannot use the taking of FMLA leave as a negative factor in employment actions.” (citing 29 C.F.R. §
825.220(c))); Deloatch v. Harris Teeter, inc., 797 F. Supp. 2d 48, 67 (D.D.C. 2011) (“Individuals . . . are protected
from retaliation for opposing (c.g., filmg a complaint about) any practice which is unlawful under the [FMLA].”
(citing 29 C.F.R. § 825.220(c))); Wood v. Handy & Harman Co., 2006 U.S. Dist. LEXIS 81186, at (N.D. Ok. Nov.
6, 2006) (holding employee could demonstrate he engaged in protected opposition activity if he reasonably believed
treatment of co-worker violated his FMLA rights).

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Plaintiff was also disciplined for informing BH of the FMLA leave violations regarding her
promotion.

34. On or about February 18, 2019, Plaintiff sent an email to Blyler, informing her
that she believed that she had been given the MOE for retaliatory reasons — specifically for (1)
her complaints of sexual harassment and/or gender discrimination on her own behalf and her co-
worker; and (2) for opposing and complaining of Defendants’ illegal practices in using FMLA
leave against her co-worker.

35. Despite asking Blyler to have her aforesaid complaints of sexual harassment,
gender discrimination, retaliation, and FMLA violations addressed and investigated, Blyler failed
to take prompt remedial action and instead dismissed Plaintiff's complaints. In fact, rather than
investigating Plaintiff's aforesaid concerns, she was subjected to further animosity and hostility.

36. Asaresult of the increased animosity and hostility that Plaintiff was subjected to
following her complaints of sexual harassment, gender discrimination, FMLA violations, and
retaliation (discussed supra), Plaintiff requested on several occasions to be moved to a different
site location, to which Defendants’ management agreed but then proceeded to continuously
postpone Plaintiffs transfer date. Plaintiff was finally informed that she should appear for work
at a new site location on or about March 4, 2019.

37. In addition to being subjected to gender discrimination, a hostile work
environment, and retaliation (for her complaints of gender discrimination, sexual harassment,
FMLA violations and retaliation), Plaintiff was also discriminated against because of her actual
and/or record of health conditions.

38. At all relevant times during her employment with Defendants, Plaintiff had and
continues to suffer from several disabilities, including anxiety and depression (and associated

complications).
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39. As a result of her aforesaid health conditions, Plaintiff experiences panic,
fearfulness, sleeplessness, and feelings of hopelessness, which (at times) limits her ability to
perform some daily life activities, including but not limited to sleeping, engaging in social
interactions, focusing, and working (among other daily life activities).

40. Despite her aforesaid health conditions and limitations, Plaintiff was able to
perform the duties of her job well with Defendants; however, Plaintiff did require some
reasonable accommodations while employed with Defendants, including a brief medical leave of
absence (as discussed infra).

41. Toward the end of her employment with Defendants, Plaintiff advised
Defendants’ management and HR on multiple occasions that the discriminatory and retaliatory
hostile work environment she had been subjected to (discussed supra) was exacerbating her
health conditions. For example, but not intended to be an exhaustive list:

a. On or about January 16, 2019, Plaintiff emailed Blyler that she had been
diagnosed with depression and “between the sexual inappropriateness last
year and the whole dealing and repercussions of that, to [Rath] telling her that
“HR was out to get [her]”. . . [i]t has all been overwhelming”; and

b. On or about March 4, 2019, when Plaintiff arrived at the new site location she
had purportedly been transferred to, she was hostilely informed that none of
Defendants’ management was ready for her, and she was asked to leave the
premises. The following day, she contacted Defendants’ employee hotline
and informed them that the hostile work environment she had been subjected
to by Defendants’ management had exacerbated her health conditions and she
required a brief medical leave of absence to care for and treat her disabilities

(a reasonable accommodation under the ADA).
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42. Plaintiff commenced a medical leave of absence on or about March 5, 2019 and
was released to return to work on or about April 4, 2019.

43. During her approximate four weeks of medical leave, Plaintiff provided
Defendants with medical documents, including completed FMLA paperwork, regarding the
status of her aforesaid medical conditions and confirming her need for medical leave.

44. On or about April 4, 2019, Plaintiff returned from her medical leave and was
abruptly terminated mid-afternoon by Defendants’ management and HR for allegedly violating
her MOE by “gossiping” — more specifically, for ailegedly telling another employee that Zwiebel
was sexist and racist, which is completely pretextual.

45. Upon Plaintiffs information and belief, Defendants had already made the
decision to terminate Plaintiff while she was out on medical leave. Defendants thereafter
followed through with Plaintiff's termination upon her return from medical leave, claiming just
hours after her return that she had allegedly “gossiped” about Zwiebel to another co-worker.

46. At the time of Plaintiffs termination, she was verbally offered unsolicited
severance pay if she agreed to waive all legal claims against Defendants — which she refused to

agree to.°

 

° While Plaintiff was never provided with a written severance agreement following her termination, the mere offer of
severance on the condition that the employee waiver her legal claims is sufficient, among other facts, to a finding of
pretext. See e.g., Staffieri v. Northwestern Human Servs., 2013 U.S. Dist. LEXIS 72115, at *25 (E.D. Pa. May 22,
2013) (employer's decision to offer Plaintiff severance on the condition he waive any FMLA claims, even though
not a company policy, supported finding of pretext in FMLA claim, among other facts); see also Karl v. City of
Mountlake Terrace, 2011 U.S. Dist. LEXIS 59085, at *13-14 (W.D. Wash. June 2, 2011) (severance agreements are
admissible in retaliation claims when made contemporaneous to termination, as they are not governed by FRE 408);
Bartlett v. NIBCO Inc., 2011 U.S. Dist. LEXIS 28072, at *11 (N.D. Ind. March 18, 2011) (“Severance pay
packages contingent upon a release of claims which are offered contemporaneously with the notice of termination
are not covered by [Rule 408],” and the motive in offering same is admissible evidence in a retaliation claim and is
admissible at trial in this case.) (citation omitted); EEOC v. Republic Servs., Inc., 640 F. Supp. 2d 1267, 1300 (D.
Nev. 2009) (denying summary judgment and considering as evidence in wrongful termination case that a company
would offer severance when an employee is supposedly terminated in a manner that doesn't warrant severance per
an explicit company policy).

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47. Plaintiff believes and therefore avers that she was subjected to a hostile work
environment, pretexual discipline, issued an MOE, and ultimately terminated by Defendants for
(1) her complaints on behalf of herself and a co-worker of sexual harassment and retaliation (in
response to her complaints of sexual harassment); (2) her gender; (3) her complaints of gender
discrimination and retaliation (in response to her complaints of gender discrimination and
retaliation); (4) her known and/or perceived disabilities; (5) her record of impairment; (6) her
requested accommodations; and (7) her objections to and/or complainis on behalf of her co-
worker regarding Defendants’ FMLA violations and retaliation (in response to her complaints
regarding Defendants’ FMLA violations).

COUNT I

Violation of Title VII of the Civil Rights Act of 1964 (“Title VIT”’)

({1] Hostile Work Environment and [2] Retaliation)
-Against Both Defendants-

48. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

49. During her tenure with Defendants, Plaintiff made complaints of and/or
objections to sexual harassment by onsite medical representative, Buckman, to Defendants’
management and HR, on behalf of herself and her co-worker.

50. Instead of meaningfully investigating Plaintiffs aforesaid complaints of sexual
harassment on behalf of herself and her co-worker, Defendants’ management and HR largely
ignored them and instead subjected Plaintiff to increased hostility and animosity (as discussed
supra).

51. As a result, Plaintiff complained to Defendants’ management and HR that she
believed the increased negative treatment she was receiving was in retaliation for her prior

complaints of and/or objections to sexual harassment on behalf of herself and her co-worker.

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52. Despite Plaintiff's repeated complaints of sexual harassment and retaliation
(discussed supra) to Defendants’ management and HR, Defendants’ management and HR
continued to harass Plaintiff through disparate treatment; pretextual discipline, and by issuing her
an MOE.

53. On or about April 4, 2019, in close proximity to Plaintiff's most recent complaints
of sexual harassment and retaliation, Plaintiff was abruptly terminated for pretextual reasons.

54, Plaintiff believes and therefore avers that she was subjected to a hostile work
environment, pretextual discipline, issued an MOE, and ultimately terminated because of her
complaints of and/or objections to sexual harassment and retaliation (in response to her
complaints of sexual harassment).

55. These actions as aforesaid constitute unlawful violations under Title VII.

COUNT II
Violation of Title VII of the Civil Rights Act of 1964 (“Title VIL’)
([1] Gender Discrimination; [2] Hostile Work Environment; and [3] Retaliation)
-Against Both Defendants-

56. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

57. During Plaintiffs employment with Defendants, she was subjected to
discrimination and a hostile work environment through disparate treatment, demeaning and/or
derogatory treatment, pretextual discipline, and issued an MOE by Defendants’ management
because of her gender and/or her complaints of gender discrimination and retaliation.

58. Instead of investigating Plaintiffs aforesaid objections to/complaints of gender

discrimination and retaliation, Defendants’ management and HR largely ignored them and left

her legitimate concerns unresolved.

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59. On or about April 4, 2019, in close proximity to Plaintiff's most recent complaints
of gender discrimination and retaliation (in response to her complaints of gender discrimination),
Plaintiff was abruptly terminated for pretextual reasons.

60. Plaintiff believes and therefore avers that she was subjected to a hostile work
environment, pretextual discipline, issued an MOE, and ultimately terminated because of her (1)
gender; (2) complaints of/objections to gender discrimination; and/or (3) complaints of
retaliation (in response to her expressed concerns of gender discrimination).

61. These actions as aforesaid constitute unlawful violations under Title VII.

COUNT III
Violations of the Americans with Disabilities Act, as Amended (“‘ADA”)
({1] Actual/Perceived/Record of Disability Discrimination and [2] Retaliation)
-Against Both Defendants-

62. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

63. Plaintiff suffered from qualifying health conditions under the ADA which
affected her ability (at times) to perform some daily life activities including, but not lmited to
sleeping, focusing, engaging in social interactions, and working (among other daily life
activities).

64. Despite Plaintiff's aforementioned health conditions and limitations, she was still
able to perform the duties of her job well with Defendants; however, Plaintiff did require
reasonable medical accommodations at times.

65. ‘Plaintiff requested reasonable accommodations from Defendants, including but
not limited to a brief medical leave of absence.

66. Plaintiff was terminated from Defendants shortly after requesting and/or utilizing

reasonable accommodations (i.e., medical leave of absence) and mere hours after returning from

her medical leave of absence for completely pretextual reasons.

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67. Plaintiff believes and therefore avers that she was terminated from her
employment with Defendants due to (1) her known and/or perceived disabilities; (2) her record
of impairment; and/or (3) her requested accommodations (which constitutes illegal retaliation).

68. These actions as aforesaid constitute violations of the ADA.

COUNT IV
Violations of the Family and Medical Leaye Act (“FMLA”)
(({1] Retaliation & [2] Interference)
-Against Both Defendants-

69. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

70. ‘Plaintiff was an eligible employee under the definitional terms of the FMLA, 29
ULS.C. § 2611 (a)() at).

71. Plaintiff requested leave from Defendants, her employers, with whom she had
been employed for at least twelve months pursuant to the requirements of 29 U.S.C._A §
2611(2){4).

72. Plaintiff had at least 1,250 hours of service with Defendants during her last full
year of employment.

73. Defendants are engaged in an industry affecting commerce and employ fifty (50)
or more employees for each working day during each of the twenty (20) or more calendar work
weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

74. ~~ Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a
total of twelve (12) work weeks of leave on a block or intermittent basis.

75. Plaintiff was terminated the day she returned from an FMLA-qualifying leave of
absence.

76. Defendants committed interference and retaliation violations of the FMLA by: (1)

terminating Plaintiff for requesting and/or exercising her FMLA rights and/or for taking FMLA-
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qualifying leave; (2) by considering Plaintiff's FMLA leave needs in making the decision to
terminate her; (3) terminating Plaintiff to intimidate her and/or prevent her from taking FMLA-
qualifying leave in the future; (4) engaging in conduct which discouraged Plaintiff from
exercising her FMLA rights and which would discourage, dissuade and/or chill a reasonable
person’s desire to request and/or take FMLA leave; and/or (5) making the decision to terminate
Plaintiff while she was still on an FMLA-qualifying leave and then following through with said
termination almost immediately after Plaintiff returned to work.

77. These actions as aforesaid constitute violations of the FMLA.

COUNT V
Violations of the Family and Medical Leave Act (“FMLA”)
(Retaliation)
-Against Both Defendants-

78. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

79. In or about January of 2019, Plaintiff objected to Defendants’ management’s use
of a co-worker’s FMLA leave as a negative factor in considering and ultimately denying the co-
worker a promotion.

80. Plaintiff also complained of Defendants’ management’s aforesaid FMLA
violations regarding her co-worker’s promotion to HR (a protected activity under the FMLA).

81. Following Plaintiffs reports of FMLA leave violations on behalf of her co-
worker, Plaintiff was subjected to increased hostility and animosity (as discussed supra).

82. As a resuit, Plaintiff complained to Defendants’ management and HR that she
believed the increased negative treatment she was receiving was in retaliation for her prior
complaints of Defendants’ FMLA violations on behalf of her co-worker.

83. Despite Plaintiffs repeated complaints of Defendants’ FMLA violations and

retaliation (in response to her complaints of Defendants’ FMLA violations), Defendants’

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management continued to harass Plaintiff through disparate treatment, pretextual discipline, and
by issuing her an MOE.

84. On or about April 4, 2019, in close proximity to when Plaintiff engaged in
protected activity under the FMLA, Plaintiff was abruptly terminated for pretextual reasons.

85. Plaintiff believes and therefore avers that she was terminated from her
employment with Defendant for having objected to and/or complained of Defendants’ FMLA
leave violations on behalf of her co-worker and retaliation (in response to her complaints of
Defendants’ aforesaid FMLA violations).

86. These actions as aforesaid constitute violations of the FMLA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting discrimination
and retaliation in the future against any employee(s);

B. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, benefits, traming, promotions, reinstaternent and seniority;

C, Plaintiff is to be awarded liquidated and/or punitive damages, as permitted by
applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish
Defendants for their willful, deliberate, malicious and outrageous conduct and to deter
Defendants or other employers from engaging in such misconduct in the future;

D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper and appropriate (including but not limited to damages for emotional distress, pain,

suffering and humiliation); and

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E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

Dated: July 30, 2019

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Respectfully submitted,

KARPF, KARPE & CERUTTI, P.c.

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